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                             UNITED STATES DISTRICT COURT
                                        FOR THE
                              DISTRICT OF MASSACHUSETTS

                                                                 CRIMINAL #19-CR-10104-ADB

                                  _________________________

                                        UNITED STATES

                                                 v.

                                     DIOVANNI CARTER
                                  _________________________


                        MEMORANDUM OF LAW IN SUPPORT OF
                            DEFENDANT’S MOTION FOR
                         REVOCATION OF DETENTION ORDER



I.     STATEMENT OF PRIOR PROCEEDINGS.

       Defendant Diovanni Carter [“Carter”] was charged in a three-defendant indictment returned

on March 27, 2019 with one count of conspiracy to interfere with commerce by threat or violence

in violation of 18 U.S.C. § 1951(a); one substantive count of interfering with commerce by threat

or violence in violation of 18 U.S.C. § 1951(a); one count of discharging, brandishing, using, and

carrying a firearm during a crime of violence in violation of 18 U.S.C. § 924(c)(1)(A); and one count

of being a felon-in-possession of a firearm and ammunition in violation of 18 U.S.C. § 922(g)(1).

According to the indictment, all of these charges arose out of Carter’s alleged participation in the

armed robbery of a T-Mobile store in Brockton on January 26, 2019.

       The government moved for pretrial detention. Following a detention hearing held on April

22, 2019, Magistrate Judge David H. Hennessey issued a Memorandum and Order on Detention on

May 3, 2019 granting the government’s motion to detain Carter. Docket Entry #32. The Court
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acknowledged Carter’s “deep roots in the community” and determined that the weight of the

evidence only “marginally supports detention.” Id. at 7. However, the Court also found that the

nature and circumstances of the offense charged support detention on grounds of both risk-of-flight

and dangerousness, and that the defendant had a significant criminal history which “does tip the

dangerousness analysis toward detention.” Id. at 6, 9. Accordingly, the Court concluded that no

condition or combination of conditions will reasonably assure Carter’s appearance in court as

required or the safety of any other person or the community and ordered him detained. Id. at 10.

       On September 11, 2019, a grand jury returned a superceding indictment against Carter and

his two co-defendants. The superceding indictment added an additional felon-in-possession count

against Carter and reiterated the prior charges against him. Docket Entry #55. Carter has now been

held in custody for approximately six months. No trial date has yet been set.

II.    STATEMENT OF RELEVANT FACTS.

       A.      Carter’s History, Personal Characteristics, and Prior Criminal Record.

       Diovanni Carter is 29 years old. He has lived in the Boston area for virtually his entire life.

He graduated from Hyde Park High School in 2008. His parents and many other family members

reside in the Boston area. Prior to his arrest on these charges, Carter had been working for the past

several years doing warehouse work through a temporary employment agency, Express Employment,

located in Braintree. He had also been working as the Artist and Repertoire Manager for Nuumusic

Studio of Brockton. A previously-filed letter from Merlyne Mesidor, owner of Nuumusic, is

attached hereto as Exhibit 1. According to Ms. Mesidor, Carter “is a vital member of our team at

Nuumusic” who “has the potential to grow his skills and career to a level of mainstream

recognition....” Id. Carter has three children and a fiancée, Shaatrona Sims. He is not on probation


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or parole. Carter’s paternal grandmother, Nancy Carter, has invited Carter to live with her in

Brockton if he is released pending trial.

       Carter does have a significant criminal history. His most recent conviction was more than

six years ago, when he was convicted of simple possession of a Class B substance in the Stoughton

District Court. His other Massachusetts criminal convictions are for possession of ammunition and

possession with intent to distribute marihuana in 2009, possession of Class B and D in 2009, and

carrying a firearm and ammunition without an FID card in 2011. He was also convicted of

misdemeanor battery and providing false information in Barrow County Superior Court (Georgia)

in 2013. Carter has faced a number of other criminal charges, but all have been dismissed, nolle

prossed, or resulted in a not guilty verdict.

       B.       Nature and Circumstances of Alleged Offense Conduct and the Weight of the
                Evidence.

                1.     The alleged offense conduct.

       The alleged offense conduct is summarized in the Memorandum and Order on Detention

issued by the Magistrate Judge at pp. 2-3:

                The evidence established that on January 26, 2019, at about 7:11
                p.m., three masked and armed men – Darius Carter, Stephan Rosser-
                Stewart and Dennis Martin – entered a T-Mobile retail store in
                Brockton. They forced the clerk into a back room where a safe
                containing cellular telephones and $4,500 was located. Darius Carter
                struck the clerk with his handgun. Rosser-Stewart emptied the safe
                into a black bag and a plastic trash bag. The entry of the men with
                drawn firearms, as well as their activities in the back room, were
                captured on store cameras. See Exs. 1 and 2. They fled in a waiting
                getaway car. According to Martin, the operator of the getaway car
                and the person who recruited him was Defendant. The car was a
                white Malibu rental, and the rental agreement authorized Defendant
                to operate the Malibu. See Ex. 7.



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              The spoils including a tracking device which T-Mobile planted in its
              inventory I was programed to activate when removed from the store,
              and its signal was broadcasted to T-Mobile and to Brockton Police.
              It showed the getaway path of the Malibu heading generally east and
              south. See Exs. 1 and 4. Police pursued the Malibu, during which
              the occupants fired on the pursuing police, who returned no fire and
              stayed back. According to ShotSpotter, 9 rounds were discharged
              along the getaway route at approximately 7:21 p.m. See Ex. 3.

              Police located the Malibu in a residential neighborhood at the
              intersection of Bristol and Carl Avenues in Brockton. The Malibu
              was abandoned; inside police recovered all the stolen cellular phones
              and cash, mail addressed to Defendant, and a spent 9mm shell casing.
              See Ex. 5.

              A police search led to the arrest of three men. Martin was located
              behind a fence near the Malibu; he had removed his sneakers.
              Rosser-Stewart was located further south in the vicinity of 149 Carl
              Avenue. Darius Carter was arrested in the general area. Nearby, a
              canine located two firearms placed beneath a rock: a silver Armi
              Frateli 9mm handgun containing no ammunition in its magazine, and
              a black Ruger LCP .38 caliber handgun with an extended magazine
              containing 13 rounds of ammunition. See Ex.12.

              On February 2, 2019, a resident of the area reported that a family
              member located in the vicinity of 108 Litchfield Street a loaded silver
              Jennings .22 caliber handgun. See Ex. 13. Litchfield Street is a
              generally east/west road that lies between the location of the Malibu
              at the northern of Carl Avenue and 149 Carl Avenue. Video and
              other evidence shows that during the robbery, Darius Carter
              possessed the Armi Frateli 9mm handgun, Martin the Ruger LCP .380
              with an extended magazine, and Rosser-Stewart the Jennings .22
              caliber handgun. See Exs. 1 and 2; see also Indictment.

              Martin identified Defendant as the organizer of the heist, the driver,
              and the source of the Ruger LCP .380 and extended magazine that
              Martin possessed. Martin identified Defendant from a photo array.

       The government does not allege that Carter entered the T-Mobile store during the robbery.

Rather, the government contends that Carter planned the robbery, supplied weapons to the robbers,

and drove the getaway car.

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                2.      The weight of the evidence against Carter.

        One of the three alleged robbers who entered the T-Mobile store, Dennis Martin, is

cooperating with the government, presumably in an effort to lighten his own punishment. Martin

was separately charged in No. 19-10140-DPW. He pled guilty pursuant to a cooperation agreement

and is awaiting sentencing.

        Since the only direct evidence against Carter produced in discovery to date comes from

Martin, his credibility (or lack thereof) is clearly critical to assessing the weight of the government’s

case. As the Magistrate Judge noted: “Martin has a significant criminal history which includes

violence, and a strong incentive to seek a sentencing benefit. Hence, he is eminently impeachable.”

Memorandum and Order on Detention, p. 7. Moreover, according to the Magistrate Judge, “... the

case depends on accomplice witness testimony from Martin.” Id. While he ultimately ordered

Carter to be detained, the Magistrate Judge found that the weight of the evidence only “marginally”

supported that decision. Id.

        The circumstantial evidence provided in discovery to date which the government will

presumably seek to introduce at trial against Carter includes the following: (1) Carter was an

authorized driver of the rented Malibu, the vehicle contained mail addressed to him, and his

fingerprint was found on a rear door of the car; (2) according to cell site location information, a

phone allegedly used by Carter was in the area of the robbery at the time of the robbery and followed

the approximate path of the flight of the robbers thereafter; and (3) a Google account linked to Carter

was used to search for T-Mobile locations prior to the robbery and for news about the robbery

thereafter.




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III.   SUMMARY OF RELEVANT LAW.

       In order to detain a defendant pending trial, the Court must find: (1) by clear and convincing

evidence that the defendant is a danger to the community, or (2) by a preponderance of the evidence

that the defendant poses a risk of flight. 18 U.S.C. § 3142(f). Even if one or both of these findings

is made, the Court may order detention only if it determines that no condition or combination of

conditions will reasonably assure the appearance of the defendant as required and the safety of any

other person and the community. 18 U.S.C. § 3142(e). Where a grand jury has found probable cause

to believe that a defendant has committed, inter alia, an offense under 18 U.S.C. § 924(c), it is

presumed that no condition or combination of conditions will suffice. 18 U.S.C. § 3142(e)(3)(B).

This presumption imposes only a burden of production on a defendant; the burden of persuasion

remains with the government. United States v. Moss, 887 F.2d 333, 338 (1st Cir. 1989).

       A defendant may move to revoke a detention order pursuant to 18 U.S.C. § 3145(b). In

adjudicating such a motion, the District Court should engage in de novo review of the issues

respecting detention or release. United States v. Tortora, 922 F.2d 880, 883, n. 4 (1st Cir. 1990). In

doing so, “[t]he Court may reject the Magistrate Judge’s fact-finding and start the hearing anew or

may accept the findings of fact made by the Magistrate and hear additional facts and argument.”

United States v. Oliveira, 238 F.Supp.3d 165, 167 (D.MA. 2017) (Gorton, J.). See also United

States v. Cross, 389 F.Supp.3d 140, 142 (D.MA. 2019).

IV.    APPLICATION OF LAW TO FACTS.

       The Court has at its disposal ample tools to fashion conditions which will reasonably assure

Carter’s appearance in court as required and the safety of the community. As noted above, Carter

has been invited by his paternal grandmother, Nancy Carter, to live with her in Brockton if he is

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released pending trial. In order to keep track of Carter’s physical whereabouts, the Court could

choose to impose GPS monitoring and a curfew. It could even choose to place Carter on house arrest

with exceptions for employment, court appearances, medical appointments, and the like. Based upon

his longstanding ties to the community, Carter does not pose a significant risk of flight, particularly

under such conditions. While he does have a record, it has been more than six years since his last

criminal conviction, and the safety of the community can reasonably be safeguarded through the

imposition of appropriate conditions of release.

       While Carter faces serious charges, the evidence against him appears to be marginal, at best.

Moreover, Carter has already been locked up in this case for more than six months, and no trial date

has yet been set. Under the circumstances, the balance of equities tips in favor of release.

Accordingly, Carter requests that the Court revoke the prior order of detention and order him

released on appropriate conditions forthwith.

                                                       Respectfully submitted,

                                                       DIOVANNI CARTER

                                                       By his attorney,



                                                       /s/ James L. Sultan
                                                       James L. Sultan, BBO #488400
                                                       Rankin & Sultan
                                                       151 Merrimac Street, 2nd Floor
                                                       Boston, MA 02114
                                                       (617) 720-0011




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                                            CERTIFICATE OF SERVICE

         I hereby certify that this document(s) filed through the ECF System will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on September 19, 2019.



                                                                                        /s/ James L. Sultan




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